17 F.3d 1429
    Cunnane (William P., Jr.), by Cunnane (William P., Sr.)v.Lyons, Officer, Abington Township, Marino (Michael),District Attorney, Egan (Thomas), A.D.A., Coletta (Karen),A.D.A., Daringer (Alan), A.D.A., Kelly (Chief) AbingtonPolice Department, Boerner (Alan), Lt., Abington Township,Cunnane (William)
    NO. 93-1568
    United States Court of Appeals,Third Circuit.
    Jan 13, 1994
    
      Appeal From:  E.D.Pa.,
      Kelly, J.
    
    
      1
      AFFIRMED.
    
    